                             Case 24-12337-KBO                       Doc 1      Filed 10/14/24               Page 1 of 20



 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                             District of   Delaware
                                           (State)


 Case number (if known):                             Chapter    11
                                                                                                                                    ☐ Check if this is an
                                                                                                                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.   Debtor’s name                         True Value Company, L.L.C.


 2.   All other names debtor                True Value Company
      used in the last 8 years              True Value

      Include any assumed
      names, trade names, and
      doing business
      as names


 3.   Debtor’s federal
      Employer Identification
                                            3 6 ‐ 2 0 9 9 8 9 6
      Number (EIN)


 4.   Debtor's address                      Principal place of business                               Mailing address, if different from principal place
                                                                                                      of business
                                            8600 West Bryn Mawr Ave.
                                            Number     Street                                         Number     Street

                                                                                                      P.O. Box
                                            Chicago                    IL           60631
                                              City                    State       ZIP Code              City                    State        ZIP Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                            Cook County
                                            County
                                                                                                      Number     Street

                                                                                                      City                      State         ZIP Code



 5.   Debtor’s website (URL)                https://www.truevalue.com




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
                             Case 24-12337-KBO                      Doc 1          Filed 10/14/24             Page 2 of 20


6.     Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                    ☐ Partnership (excluding LLP)
                                                    ☐ Other. Specify:

                                                    A. Check one:
7.     Describe debtor's business
                                                    ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                                    ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                    ☒ None of the above


                                                    B. Check all that apply:

                                                    ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                    ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15
                                                      U.S.C. § 80a-3)
                                                    ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))



                                                    C. NAICS (North American Industry Classification System) 4-digit code that best describes
                                                       debtor. See http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                                4           2       3       7

8.     Under which chapter of the                   Check one:
       Bankruptcy Code is the                       ☐ Chapter 7
       debtor filing?                               ☐ Chapter 9
                                                    ☒ Chapter 11. Check all that apply:
                                                                   ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                      insiders or affiliates) are less than $3,024,725 (amount subject to adjustment
                                                                      on 4/01/25 and every 3 years after that).

                                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If
                                                                             the debtor is a small business debtor, attach the most recent balance sheet,
                                                                             statement of operations, cash-flow statement, and federal income tax return
                                                                             or if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                             1116(1)(B).
                                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
                                                                             and it chooses to proceed under Subchapter V of Chapter 11.

                                                                           ☐ A plan is being filed with this petition.

                                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q)
                                                                             with the Securities and Exchange Commission according to § 13 or 15(d) of
                                                                             the Securities Exchange Act of 1934. File the Attachment to Voluntary
                                                                             Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                             Form 201A) with this form.
                                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                             1934 Rule 12b-2.
                                                    ☐ Chapter 12

9.     Were prior bankruptcy cases                  ☒ No
       filed by or against the debtor               ☐ Yes       District                                When                       Case number
       within the last 8 years?                                                                                   MM / DD / YYYY


       If more than 2 cases, attach a separate
       list.                                                    District                                When                       Case number
                                                                                                                  MM / DD / YYYY




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 2
                               Case 24-12337-KBO                      Doc 1       Filed 10/14/24            Page 3 of 20

10.    Are any bankruptcy cases                       ☐ No
       pending or being filed by a
       business partner or an                         ☒ Yes        Debtor      See Annex 1                                 Relationship     Affiliate
       affiliate of the debtor?                                    District    Delaware                                    When             Date hereof
       List all cases. If more than 1, attach a                                                                                              MM / DD / YYYY
       separate list.                                              Case Number, if known



11.    Why is the case filed in this                  Check all that apply:
       district?
                                                      ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                        days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                        any other district.
                                                      ☐ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                        district.


12.    Does the debtor own or have                    ☒ No
       possession of any real                         ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
       property or personal property                    needed.
       that needs immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                                         ☐ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                             safety.
                                                              What is the hazard?
                                                            ☐ It needs to be physically secured or protected from the weather.
                                                            ☐ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                              attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                              related assets or other options).

                                                            ☐ Other


                                                      Where is the property?
                                                                                      Number               Street




                                                                                      City                                     State                Zip Code


                                                      Is the property insured?
                                                      ☐ No
                                                      ☐ Yes     Insurance agency

                                                                 Contact name

                                                                 Phone

       Statistical and administrative information
          Statistical and administrative information

13.    Debtor's estimation of                         Check one:
       available funds                                ☒ Funds will be available for distribution to unsecured creditors.
                                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to
                                                        unsecured creditors.


                                                  ☐ 1-49                            ☒ 1,000-5,000                            ☐ 25,001-50,000
14.    Estimated number of                        ☐ 50-99                           ☐ 5,001-10,000                           ☐ 50,001-100,000
       creditors                                  ☐ 100-199                         ☐ 10,001-25,000                          ☐ More than 100,000
                                                  ☐ 200-999
      *     “Estimated number of creditors” determined on a consolidated basis with affiliate debtors.




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                            Case 24-12337-KBO                    Doc 1        Filed 10/14/24            Page 4 of 20


                                                ☐ $0-$50,000                            ☐ $1,000,001-$10 million          ☐ $500,000,001-$1 billion
15.    Estimated assets                         ☐ $50,001-$100,000                      ☐ $10,000,001-$50 million         ☐ $1,000,000,001-$10 billion
                                                ☐ $100,001-$500,000                     ☐ $50,000,001-$100 million        ☐ $10,000,000,001-$50 billion
                                                ☐ $500,001-$1 million                   ☒ $100,000,001-$500 million       ☐ More than $50 billion


                                                ☐ $0-$50,000                            ☐ $1,000,001-$10 million          ☒ $500,000,001-$1 billion
16.    Estimated liabilities                    ☐ $50,001-$100,000                      ☐ $10,000,001-$50 million         ☐ $1,000,000,001-$10 billion
                                                ☐ $100,001-$500,000                     ☐ $50,000,001-$100 million        ☐ $10,000,000,001-$50 billion
                                                ☐ $500,001-$1 million                   ☐ $100,000,001-$500 million       ☐ More than $50 billion

         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
           or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17.    Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
       authorized representative of             in this petition.
       debtor                                   I have been authorized to file this petition on behalf of the debtor.
                                                I have examined the information in this petition and have a reasonable belief that the information is
                                                true and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on        10/14/2024
                                                                       MM / DD / YYYY



                                                    /s/ William McGann                                   William McGann
                                                   Signature of authorized representative of debtor     Printed name


                                                              Senior Vice President,
                                                    Title     Chief Financial Officer



18.    Signature of attorney
                                                 /s/ Joseph O. Larkin                                   Date    10/14/2024
                                                    Signature of attorney for debtor                             MM / DD / YYYY



                                                    Joseph O. Larkin                                     Evan A. Hill
                                                    Printed name

                                                    Skadden, Arps, Slate, Meagher & Flom LLP             Skadden, Arps, Slate, Meagher & Flom LLP
                                                    Firm name

                                                    One Rodney Square, 920 N. King Street                One Manhattan West
                                                    Number   Street

                                                    Wilmington, Delaware 19801                           New York, New York 10001
                                                    City/State/ZIP

                                                    (302) 651-3000                                       (212) 735-3000
                                                    Contact phone

                                                    Joseph.Larkin@skadden.com                            Evan.Hill@skadden.com
                                                    Email address



                                                    4883                                                 Delaware
                                                    Bar number                                           State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
                Case 24-12337-KBO           Doc 1     Filed 10/14/24      Page 5 of 20




                                               ANNEX 1


                                    SCHEDULE OF DEBTORS

                 The following list identifies all of the affiliated entities, including the Debtor filing
this petition, that have filed voluntary petitions for relief in this Court under chapter 11 of title 11
of the United States Code, 11 U.S.C. §§ 101 et seq., as amended, substantially contemporaneously
with the filing of this petition.

                             DEBTOR’S NAME                                      DEBTOR’S EIN
  1.                    True Value Company, L.L.C.                                 36‐2099896
  2.                         TV Holdco II, L.L.C.                                  82‐4822272
  3.                           TV TSLC, L.L.C.                                     82‐5227025
  4.                          TV GPMC, L.L.C.                                      82‐5228136
  5.                      True Value Retail, L.L.C.                                27‐1377946
  6.                  TrueValue.com Company, L.L.C.                                36‐4346386
  7.                     True Value Virginia, L.L.C.                               88‐4409197
  8.                    Distributors Hardware, L.L.C.                              01‐0868106
               Case 24-12337-KBO          Doc 1    Filed 10/14/24      Page 6 of 20




                             TRUE VALUE COMPANY, LLC
                                 TV HOLDCO II, L.L.C.
                          DISTRIBUTORS HARDWARE, L.L.C.
                                   TV GPMC, L.L.C.
                              TRUE VALUE RETAIL, L.L.C.
                          TRUEVALUE.COM COMPANY, L.L.C.
                                    TV TSLC, L.L.C.
                             TRUE VALUE VIRGINIA, L.L.C.
                       Unanimous Written Consent in Lieu of a Meeting


                                         October 13, 2024

        The undersigned, being the governing authority of the applicable entity (each a
“Company,” and together, the “Companies”) listed above (with such governing authority of each
Company constituting its “Governing Body”), do hereby consent to the adoption of, and do hereby
adopt, by this written consent, the following resolutions with the same force and effect as if they
had been approved and adopted at a duly convened meeting of the applicable Governing Body,
and direct that this written consent be filed with the minutes of the proceedings of such Governing
Body.

Chapter 11 Filing

        NOW THEREFORE BE IT RESOLVED, that each Governing Body has determined,
after consultation with management and the legal and financial advisors of the Companies, that it
is desirable and in the best interests of the applicable Company, its creditors and other interested
parties, that such Company file a voluntary petition for relief (each, a “Petition” and collectively,
the “Petitions”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), for the
purpose of initiating a bankruptcy case (each, a “Bankruptcy Case”); and be it further

         RESOLVED, that the officers of each Company (collectively, the “Officers”) are
empowered, authorized and directed by the applicable Governing Body, on behalf of such
Company, to execute and verify its Petition as well as any other documents, schedules, motions,
lists, applications, pleadings, orders and other documents (the “Chapter 11 Filings”), to cause its
Petitions and the Chapter 11 Filings to be filed with the Bankruptcy Court, and to take and perform
any further acts and deeds that such Officers deem necessary, appropriate or desirable in
connection with the applicable Company’s Bankruptcy Case, including, without limitation, the
payment of fees, expenses and taxes; and be it further

        RESOLVED, that the Officers are empowered, authorized and directed by the applicable
Governing Body to cause the applicable Company to continue to conduct business operations in
the ordinary course during the pendency of its Bankruptcy Case, subject to the restrictions of the
Bankruptcy Court; and be it further
               Case 24-12337-KBO          Doc 1       Filed 10/14/24   Page 7 of 20




Asset Purchase Agreement

        RESOLVED, that in connection with the Bankruptcy Case, it is desirable and in the best
interests of the Company, its creditors, and other parties in interest to sell certain assets of the
Company pursuant to an Asset Purchase Agreement (“DIB APA”) with Do It Best Corp. (“DIB”),
as buyer, pursuant to which DIB has agreed to purchase, and the Companies have agreed to sell,
substantially all of the assets of the Companies; and be it further

       RESOLVED, that the Officers are empowered, authorized and directed, with full power
of delegation, on behalf of and in the name of the Company, to cause the Company to negotiate,
execute and deliver the DIB APA, and any related agreements, consents, certificates, amendments,
assignment, instruments and other documents contemplated thereby, in such form and with such
changes or amendments (substantial or otherwise) thereto as any one of more such Officers shall
approve as necessary or desirable, in order to consummate the transactions contemplated by the
DIB APA; and be it further

         RESOLVED, that the Officers are empowered, authorized and directed, with full power
of delegation, on behalf of and in the name of the Company, to take all such further actions which
shall, in such Officer’s sole judgment, be necessary, proper or advisable to perform the Company’s
obligations under or in connection with the DIB APA, and the transactions contemplated therein
and to carry out fully the intent of the foregoing resolutions; and be it further

Debtor-in-Possession Financing

        RESOLVED, that each Governing Body has determined that, in connection with the
Bankruptcy Case, it is desirable and in the best interest of the Company, its creditors, stakeholders,
and other interested parties to request that one or more potential financing sources provide the
Company with a secured priming superpriority debtor-in-possession term loan facility in an
aggregate principal amount of $15,300,000 (as amended, restated, amended and restated,
supplemented, modified, extended, renewed, refunding, replacement, exchanged, refinanced or
otherwise changed (in whole or in part, and without limitation as to amount, terms, conditions,
covenants and other provisions, including any alteration of the maturity thereof or increase in the
amount of available borrowings thereof or adds subsidiaries as additional borrowers or guarantors
thereunder and whether by the same or any other agent, trustee, lender or group of lenders,
investors, holders or otherwise) the “DIP Financing”) subject to exceptions and limitations to be
set forth in any orders of the Bankruptcy Court concerning the DIP Financing (the “DIP Financing
Orders”); and be it further

        RESOLVED, that the Company is authorized to incur the obligations and to undertake
any and all related transactions contemplated by the terms and provisions of any debtor-in-
possession term sheets (the “DIP Term Sheets”) and/or any definitive financing agreements related
to the DIP Financing (the “DIP Financing Agreement” and, together with the DIP Term Sheets
and any certificates, instruments, agreements or other documents, in each case, executed and/or
delivered in connection with, related to and/or contemplated by any DIP Term Sheets or DIP
Financing Agreements, collectively, the “DIP Financing Documents”) with DIB, including
without limitation to (a) seek approval of any of the DIP Financing Documents from the
Bankruptcy Court pursuant to the DIP Financing Orders and (b) take all actions (including

                                                  2
               Case 24-12337-KBO          Doc 1       Filed 10/14/24    Page 8 of 20




negotiating and executing any agreements, documents, or certificates) necessary or advisable to
implement the DIP Order, including (i) paying any fees and expenses related thereto, (ii)
guarantying the obligations of the loan parties under any of the DIP Financing Documents, (iii)
granting superpriority status and first priority priming liens and security interests in, and pledging,
mortgaging, and granting deeds of trust with respect to, its right, title, and interest in and to its
properties and assets, whether now owned or hereafter acquired, to the extent required to secure
the obligations of the loan parties under the DIP Financing Documents, with such changes therein
and additions thereto as any Officer executing the same may, in his or her absolute discretion,
deem necessary or appropriate, the execution of any of the DIP Financing Documents and security
documents to be conclusive evidence of the approval thereof, and (iv) consummating the
transactions contemplated by the foregoing, including incurring the obligations stated in
connection therewith; and be it further

       RESOLVED, that the Officers are empowered, authorized and directed, with full power
of delegation, on behalf of and in the name of the Company, to cause the Company to negotiate,
execute and deliver the DIP Financing Documents and any amendments, modifications, renewals,
replacements, consolidations, substitutions, and extensions thereof, in such form and with such
changes (substantial or otherwise) thereto as any one of more such Officers shall approve as
necessary or desirable, in order to consummate the transactions contemplated by any of the DIP
Financing Documents; and be it further

         RESOLVED, that the Officers are empowered, authorized and directed, with full power
of delegation, on behalf of and in the name of the Company, to take all such further actions which
shall, in such Officer’s sole judgment, be necessary, proper or advisable to perform the Company’s
obligations under or in connection with any of the DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions, which
determination shall be conclusively evidenced by his or her execution thereof; and be it further

Retention of Advisors

         RESOLVED, that the Officers are empowered, authorized and directed by the applicable
Governing Body, on behalf of the applicable Company, to retain and employ (or continue to retain
and employ, as applicable) professionals to render services to such Company in connection with
its Petition, Chapter 11 Filings and all other matters contemplated by these resolutions, including,
without limitation, Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden Arps”) to act as lead
legal counsel; Glenn Agre Bergman & Fuentes LLP (“Glenn Agre”) to act as conflicts and
efficiency counsel; Young Conaway Stargatt & Taylor, LLP (“Young Conaway”) to act as local
and efficiency counsel, Houlihan Lokey Capital, Inc. (“Houlihan”) to act as investment banker;
M3 Advisory Partners, LP (“M3”) to act as financial advisor; and Omni Agent Solutions (“Omni”)
to act as claims and noticing agent and administrative advisor; and be it further

       RESOLVED, that the Officers are empowered, authorized, and directed by the applicable
Governing Body, on behalf of the applicable Company, to continue the employment and retention
of professionals in the ordinary course as long as they deem appropriate and in its Bankruptcy
Case to retain and employ other attorneys, accountants, and other professionals to assist in such
Bankruptcy Case on such terms as are deemed necessary, proper, or desirable; and be it further


                                                  3
               Case 24-12337-KBO           Doc 1       Filed 10/14/24    Page 9 of 20




        RESOLVED, that the Officers are authorized and directed by the applicable Governing
Body, to execute any appropriate engagement letters and agreements and such other documents
necessary to retain Skadden Arps, Glenn Agre, Young Conaway, Houlihan, M3, Omni, and any
other or additional financial advisors, investment bankers, accountants, auditors, advisors, legal
counsel, and other professionals not specifically identified herein (the “Professionals”), and to
cause the applicable Company to pay appropriate retainers to such Professionals prior to the filing
of its Bankruptcy Case or after to the extent appropriate and permitted in its Bankruptcy Case, and
to cause to be filed appropriate applications or motions seeking authority to retain and pay for the
services of such Professionals; and be it further

General Resolutions

         RESOLVED, that the Officers are empowered, authorized and directed by the applicable
Governing Body, on behalf of the applicable Company, to take, from time to time, any and all such
actions and to execute and deliver from time to time any and all such agreements, amendments,
instruments, requests, receipts, applications, reports, certificates, and other documents, and to
execute, verify and file or cause to be filed all petitions, schedules, lists, motions, applications, and
other papers and documents necessary or desirable in connection with the foregoing resolutions,
and to take any and all action deemed necessary, proper, or desirable in connection with the
foregoing resolutions and to carry out and perform the purposes of the foregoing resolutions; and
be it further

        RESOLVED, that the Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Companies, or hereby waive any right to have received
such notice; and be it further

        RESOLVED, that the omission from the foregoing resolutions of any agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing resolutions or any action to be taken in accordance with
any requirement of any of the agreements, documents, or instruments described in the foregoing
resolutions shall in no manner derogate from the authority of the Officers to take all actions
necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or further the
transactions contemplated by, and the intent and purposes of, the foregoing resolutions; and be it
further

        RESOLVED, that this consent may be executed in one or more counterparts, and delivered
by electronic means, each of which, when so executed, shall be treated in all manner and respects
and for all purposes as one and the same original, written consent, and shall be considered to have
the same binding legal effect as if it were an original manually signed counterpart hereof delivered
in person; and be it further

       RESOLVED, that any and all actions lawfully done for and on behalf of any Company,
by any Officer or Professional engaged by such Company with respect to any transactions
contemplated by the foregoing resolutions, before or after their adoption, are ratified, authorized,
approved, adopted in good faith, and consented to in all respects for all purposes.


                                                   4
         Case 24-12337-KBO           Doc 1     Filed 10/14/24       Page 10 of 20




       IN WITNESS WHEREOF, the undersigned, being all of the directors of True
Value Company, L.L.C., have executed this written consent as of the date first written
above.

                                                               ________________________
                                                               Aron Schwartz


                                                               ________________________
                                                               Chris Kempa


                                                               ________________________
                                                               Mo Bawa


                                                               ________________________
                                                               Harvey Tepner




               [Signature Page to Chapter 11 Omnibus Action by Written Consent]
              Case 24-12337-KBO         Doc 1     Filed 10/14/24    Page 11 of 20




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re                                                     Chapter 11

 TRUE VALUE COMPANY, L.L.C.,                               Case No. 24-_____ (___)

                Debtor.


         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

               Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, True Value Company, L.L.C. and certain of its affiliates, as the debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors”), respectfully represent:

         1.    TV Holdco I, L.L.C. owns 100% of the equity interests in TV Holdco II, L.L.C.

         2.    TV Holdco II, L.L.C. owns 100% of the equity interests in True Value Company,

L.L.C.

         3.    True Value Company, L.L.C. owns 100% of the equity interests in the following

Debtors: TV TSLC, L.L.C., TV GPMC, L.L.C., True Value Retail, L.L.C., TrueValue.com

Company, L.L.C., True Value Virginia, L.L.C., and Distributors Hardware, L.L.C.
            Case 24-12337-KBO     Doc 1   Filed 10/14/24   Page 12 of 20




                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE


In re                                            Chapter 11

TRUE VALUE COMPANY, L.L.C.,                      Case No. 24-_____ (___)

              Debtor.


                        LIST OF EQUITY SECURITY HOLDERS

        Equity Holder         Address of Equity Holder     Percentage of Equity Held
                              8600 West Bryn Mawr Ave.
    TV Holdco II, L.L.C.                                            100%
                                  Chicago, IL 60631
                                           Case 24-12337-KBO       Doc 1   Filed 10/14/24     Page 13 of 20


                                                                                                                   Legend

                                                                                                              Ch 11 Debtor


               Organizational Structure                                                                       Non-Debtor Affiliate
                  As of 10/14/2024

                                                                 TV Holdco I, L.L.C.
                                                                     Delaware




                                                                TV Holdco II, L.L.C.
                                                                    Delaware




                                                           True Value Company, L.L.C.
                                                                   Delaware




                                                    True Value Retail,         TrueValue.com           True Value Virginia             Distributors
TV TSLC, L.L.C.             TV GPMC, L.L.C.
                                                          L.L.C.               Company, L.L.C.               L.L.C.                  Hardware, L.L.C.
    Illinois                    Illinois
                                                        Delaware                   Delaware                   Virginia                  Delaware
                                      Case 24-12337-KBO                       Doc 1          Filed 10/14/24               Page 14 of 20

 Debtor name         True Value Company, L.L.C., et al.
 UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
 Case No. (If known)
                                                                                                                                                               Check if this is an
Official Form 204                                                                                                                                              amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                               12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims. *

 Name of creditor and complete                                                                Nature of the       Indicate if      Amount of unsecured claim
                                                Name, telephone number, and                                       claim is
 mailing address, including zip                 email address of creditor contact             claim               contingent,      If the claim is fully unsecured, fill in only
 code.                                                                                        (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                              trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                              loans,                               deduction for value of collateral or setoff to
                                                                                              professional                         calculate unsecured claim.
                                                                                              services, and
                                                                                              government
                                                                                                                                  Total Claim, if   Deduction for Unsecured claim
                                                                                              contracts)
                                                                                                                                  partially         value of
                                                                                                                                  secured           collateral or
                                                                                                                                                    setoff


 1   Stihl Inc                                  Stihl Inc                                     Trade Payable                                                                $10,598,031.66
     536 Viking Dr                              Attn: Jeremy Krueger
     Virginia Beach, VA 23452                   Tel: 559-731-8473
                                                Email: stihlcs@stihl.us;
                                                Jeremy.Krueger@stihl.us



 2   Hillman Group                              Hillman Group                                 Trade Payable                                                                 $7,308,357.04
     1280 Kemper Meadow Dr                      Attn: Eric England
     Parkdale, OH 45240                         Tel: 678-232-3590
                                                Email: INFO@HILLMANGROUP.COM;
                                                Eric.england@hillmangroup.com




 3   Rpm International                          Rpm International                             Trade Payable                                                                 $6,417,494.41
     2628 Pearl Rd                              Attn: Kristin Schiro
     Medina, OH 44256                           Tel: 224-436-5892
                                                Fax: 330-225-8743
                                                Email: info@rpminc.com;
                                                Kschiro@rustoleum.com



 4   Mckinsey & Company Inc                     Mckinsey & Company Inc                        Professional                                                                  $5,900,000.00
     3 World Trade Center                       Attn: Ben Mathews, Jay Halama                 Services
     175 Greenwich St                           Tel: 216-253-6037; 973-652-0489
     New York City, NY 10007                    Email: ben_mathews@mckinsey.com;
                                                maxence_vancauwenberghe@mckinsey.co
                                                m




*On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any debtor with respect to all or any portion of the claims
listed herein. Nothing herein shall affect any debtors’ right to challenge the amount or characterization of any claim.




  Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                         Page 1
                                    Case 24-12337-KBO                      Doc 1    Filed 10/14/24              Page 15 of 20


Debtor name          True Value Company, L.L.C., et al.                                                    Case No. (If known)

                                                                         (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                 claim is
mailing address, including zip              email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction for Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


5   Stanley Black & Decker Inc              Stanley Black & Decker Inc              Trade Payable                                                                 $5,402,095.47
    1000 Stanley Dr                         Attn: Matthew Reap
    New Britain, CT 06053                   Tel: 914-447-7479
                                            Email: Matthew.Reap@sbdinc.com




6   Ryder Integrated Logistics              Ryder Integrated Logistics              Trade Payable                                                                 $5,326,222.90
    2333 Ponce de Leon Blvd, Ste 700        Attn: Al Pinto
    Coral Gables, FL 33134                  Tel: 630-961-7300
                                            Email: pintax@ryder.com




7   Reliance Water Heater Co                Reliance Water Heater Co                Trade Payable                                                                 $4,358,331.05
    500 Tennessee Waltz Pkwy                Attn: Bill Cassidy
    Ashland City, TN 37015                  Tel: 615-972-1930
                                            Email: bcassidy@hotwater.com




8   Carhartt Inc                            Carhartt Inc                            Trade Payable                                                                 $3,163,883.57
    5750 Mercury Dr                         Attn: Ken Jenkins
    Dearborn, MI 48126                      Tel: 313-510-9286
                                            Email: kjenkins@carhartt.com




9   Coleman Cable                           Coleman Cable                           Trade Payable                                                                 $3,059,751.21
    1530 Shields Dr                         Attn: Anna Martin, Dennis Sullivan
    Waukegan, IL 60085                      Tel: 817-422-7938
                                            Email: anna.martin@southwire.com;
                                            brad.silverstein@southwire.com



10 Legrand Pass & Seymour                   Legrand Pass & Seymour                  Trade Payable                                                                 $2,955,956.25
   4515 Enterprise Dr NW                    Attn: Alex Kimball, Joe Elliston
   Concord, NC 28027-6437                   Tel: 508-517-2231
                                            Email: alexandra.kimball@legrand.com;
                                            susan.sterling@legrand.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 2
                                     Case 24-12337-KBO                     Doc 1   Filed 10/14/24              Page 16 of 20


Debtor name        True Value Company, L.L.C., et al.                                                     Case No. (If known)

                                                                        (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                               claim is
mailing address, including zip               email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction for Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


11 Charlotte Pipe                            Charlotte Pipe                        Trade Payable                                                                 $2,948,723.79
   2109 Randolph Rd                          Attn: Taylor Fraley
   Charlotte, NC 28207                       Tel: 704-348-6435
                                             Email: tfraley@charlottepipe.com




12 General Electric                          General Electric                      Trade Payable                                                                 $2,571,681.78
   1 Neumann Way                             Attn: Mark Miller, Susan Sterling
   Cincinnati, OH 45215                      Tel: 312-758-0542
                                             Email: mark.miller@savant.com;
                                             dennis.sullivan@savant.com



13 Minwax Company                            Minwax Company                        Trade Payable                                                                 $2,545,737.79
   101 Prospect Ave                          Attn: Cecil McCurty
   Cleveland, OH 44115                       Tel: 321-200-7559
                                             Email: cmccurty@valspar.com




14 Boise Cascade Bldg Mat Dist               Boise Cascade Bldg Mat Dist           Trade Payable                                                                 $2,489,721.05
   P. O. Box 50                              Attn: Nathan Sikes
   1111 W Jefferson St, Ste 300              Tel: 214-213-0117
   Boise, ID 83702                           Email: nathansikes@bc.com




15 Apex Tool Group LLC                       Apex Tool Group LLC                   Trade Payable                                                                 $2,190,782.13
   910 Ridgebrook Rd, Ste 200                Attn: Kim Haste
   Sparks, MD 21152                          Tel: 224-239-5245
                                             Email: Kim.Haste@apextoolgroup.com




16 Ufp Retail, LLC                           Ufp Retail, LLC                       Trade Payable                                                                 $2,156,209.75
   2801 East Beltline NE                     Attn: Nick Kelly
   Grand Rapids, MI 49525                    Tel: 314-220-4028
                                             Email: nkelly@ufpi.com




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              Page 3
                                   Case 24-12337-KBO                     Doc 1    Filed 10/14/24              Page 17 of 20


Debtor name       True Value Company, L.L.C., et al.                                                     Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                claim is
mailing address, including zip             email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction for Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


17 Midwest Fastener Corp                   Midwest Fastener Corp                  Trade Payable                                                                 $2,137,709.14
   9031 Shaver Rd                          Attn: Ted Arnold
   Kalamazoo, MI 49024-6164                Tel: 800-444-7313 ext 124
                                           Email: teda@mwf.net




18 Midwest Utility, Inc                    Midwest Utility, Inc                   Purchase                                                                      $1,920,070.00
   15 W 700 N Frontage Rd                  Attn: Patrick McGushin                 Agreement
   Burr Ridge, IL 60527                    Tel: 630-789-2700
                                           Fax: 630-789-2754
                                           Email: patm@midwestutility.com



19 Hexaware Technologies Ltd               Hexaware Technologies Ltd              Information                                                                   $1,888,921.22
   152, Millenium Business Park            Attn: Amit Agrawal                     Technology
   Sector 3R, TTC Industrial Area          Tel: 720-236-2529                      Services
   Mahape Navi, Mumbai MH 400710           Email: amita7@hexaware.com
   India




20 Quikrete Companies                      Quikrete Companies                     Trade Payable                                                                 $1,841,167.90
   5 Concourse Pkwy, Ste 1900              Attn: Todd Klingel
   Atlanta, GA 30328                       Tel: 614-885-4407
                                           Email: Todd.klingel@quikrete.com




21 Beacon Roofing Supply                   Beacon Roofing Supply                  Trade Payable                                                                 $1,798,870.11
   505 Huntmar Park Dr, Ste 300            Attn: Josh Dickman
   Herndon, VA 20170                       Tel: 502-396-3221
                                           Fax: 703-437-1919
                                           Email: beaconproplus@becn.com;
                                           joshd@thedealerschoice.com


22 Berry Plastics Corp                     Berry Plastics Corp                    Trade Payable                                                                 $1,736,422.72
   101 Oakley St                           Attn: Jim Flannery, Brad Silverstein
   P.O. Box 959                            Tel: 920-850-5249
   Evansville, IN 47710-1237               Email: jimflannery@berryglobal.com;
                                           jayhalama@berryglobal.com




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 4
                                    Case 24-12337-KBO                     Doc 1     Filed 10/14/24              Page 18 of 20


Debtor name         True Value Company, L.L.C., et al.                                                     Case No. (If known)

                                                                        (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                 claim is
mailing address, including zip              email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction for Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


23 Energizer Battery Inc                    Energizer Battery Inc                   Trade Payable                                                                 $1,704,449.61
   533 Maryville University Dr              Attn: Marcia McDonald
   St. Louis, MO 63141                      Tel: 314-985-1727
                                            Email: marciac.mcdonald@energizer.com




24 Inliten LLC                              Inliten LLC                             Trade Payable                                                                 $1,671,013.38
   2350 Ravine Wy,Unit 300                  Attn: Chip Bryant
   Glenview, IL 60025                       Tel: 901-218-3505
                                            Email: chip_bryant@inliten.com




25 UPS-United Parcel Service                UPS-United Parcel Service               Trade Payable                                                                 $1,670,451.24
   55 Glenlake Pkwy NE                      Attn: Sandi Doggett
   Atlanta, GA 30328                        Tel: 217-671-4477
                                            Email: sdoggett@ups.com




26 Thermwell Product Company                Thermwell Product Company               Trade Payable                                                                 $1,654,378.19
   420 Route 17 S                           Attn: Vincent Giarratana
   Mahwah, NJ 07430-2135                    Tel: 201-314-0011
                                            Email: vjg@frostking.com




27 Advanced Drainage Systems                Advanced Drainage Systems               Trade Payable                                                                 $1,651,666.81
   4640 Trueman Blvd                        Attn: Lee Davison
   Hilliard, OH 43026                       Tel: 972-310-9060
                                            Email: lee.davis@adspipe.com




28 National Mfg Co                          National Mfg Co                         Trade Payable                                                                 $1,542,233.92
   151 Old New Brunswick Rd                 Attn: Jeff Vaccaro, Scott Mackey
   Piscataway, NJ 08854                     Tel: 225-603-8546
                                            Email: jeff.vaccaro@assaabloy.com;
                                            joe.elliston@assaabloy.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 5
                                   Case 24-12337-KBO                 Doc 1    Filed 10/14/24              Page 19 of 20


Debtor name       True Value Company, L.L.C., et al.                                                 Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                 Nature of the       Indicate if      Amount of unsecured claim
                                         Name, telephone number, and                              claim is
mailing address, including zip           email address of creditor contact    claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                         (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                              trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                              loans,                               deduction for value of collateral or setoff to
                                                                              professional                         calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction for Unsecured claim
                                                                              contracts)
                                                                                                                  partially         value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


29 Primesource Building                  Primesource Building                 Trade Payable                                                                 $1,536,206.38
   1321 Greenway Dr                      Attn: Elliott Tostrud
   Irving, TX 75038-2504                 Tel: 817-913-5542
                                         Email: tostrude@primesourcebp.com;
                                         MackeyS@primesourcebp.com




30 Pension Benefit Guaranty Corp         Pension Benefit Guaranty Corp        Pension Benefits    Contingent,                                         Undetermined
   Office of the General Counsel         Attn: Morris Karen                                       Unliquidated
                                                                                                  & Disputed
   445 12th St SW                        Tel: 202-326-4020
   Washington, DC 20024-2101             Email: Morris.karen@pbgc.gov




 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                             Page 6
                              Case 24-12337-KBO                   Doc 1       Filed 10/14/24            Page 20 of 20


  Fill in this information to identify the case:
  Debtor name:       True Value Company, L.L.C..
  United States Bankruptcy Court for the:     District of Delaware
                                                     (State)

Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                  12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for
the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of
those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy
Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



                Declaration and signature



I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
correct:

☐         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

☐         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

☐         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

☐         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

☐         Schedule H: Codebtors (Official Form 206H)

☐         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

☐         Amended Schedule

☒         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
          Form 204)

☒         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Security
          Holders

I declare under penalty of perjury that the foregoing is true and correct.

  Executed on        10/14/2024                               x /s/ William McGann
                     MM/DD/YYYY                               Signature of individual signing on behalf of debtor

                                                              William McGann
                                                              Printed Name
                                                              Senior Vice President, Chief Financial Officer
                                                              Position or relationship to debtor




 Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
